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                                            STATE OF NEW YORK
                                      OFFICE OF THE ATTORNEY GENERAL
 LETITIA JAMES                                                                           DIVISION OF SOCIAL JUSTICE
ATTORNEY GENERAL                                                                             CIVIL RIGHTS BUREAU

                                                     April 8, 2024
      By Electronic Filing

      Hon. Colleen McMahon
      United States District Court, Southern District of New York
      Daniel Patrick Moynihan Courthouse
      500 Pearl Street
      New York, New York 10007

                 Re: In re: New York City Policing During Summer 2020 Demonstrations,
                     1:20-CV-8924 (CM) (GWG)
                     This Letter Relates to All Cases

      Dear Judge McMahon:
             I write on behalf of Plaintiffs who are parties to the Injunctive Settlement to alert the
      Court to Plaintiffs’ opposition that was filed at ECF No. 1160. For convenience, a copy is
      attached hereto.
              The Court today advised the parties that the PBA’s motion for a stay pending appeal
      would be decided based solely on the PBA’s papers because Plaintiffs had not responded to that
      motion. (ECF No. 1163.) But Plaintiffs did file their opposition on March 8, 2024. (ECF No.
      1160.) 1 Plaintiffs therefore respectfully request that the Court consider Plaintiffs’ timely
      opposition to the pending motion to stay.
                                                     Sincerely,
                                                     /s/ Lillian Marquez
                                                     Lillian Marquez
                                                     Deputy Bureau Chief
                                                     Law Enforcement Misconduct Investigative Office
                                                     Office of the New York State Attorney General
                                                     Tel: 212-416-6401
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       Although Plaintiffs requested an extension of the March 8 deadline to file, as they did not
      receive a ruling on that motion before the deadline, Plaintiffs filed their opposition on that date.
      This may have been cause for some confusion on the docket.
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CC: All counsel of record
